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SERFF making $:‘ LWS.‘-J-T.?-§G??Edi SIB:E Trac‘.lf.r`ng £.~ €ompart_',' ?'}'ack.‘ng $: CFé-UJ'-AF-€ .11‘-’-€\$'-£»1‘3'
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‘¢"\.r`a are ming for your review and approva£- ‘_ihe forms fur our nr=’."»l 'C;cmmercia| Umbr€~||a F'mc':uct for fha above noted company
Wa ask farr your approval of this product with an effective date of "i 17."1:|1.*?[1‘10.

For your reference please noia 111-at the sorrespcnd€ng rat` ng for this product 115 E|'ecf: accordingly under our project #CM-UMR-
CW-E#.]E-¥D.

F'ic»ase let me know d ',»nu should have any questions or ccncems.
‘f'c:ur acknm'iedgEm-Entl`ap prou's! of ihis submission is appreciaied.

Sir'.carel‘_,r,

Mi»c:he||& Skidmore

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SERFF Track:'ng #: LWCM-1265?1549 State Tracking #: Company Tracking #: CM-UMF-CW-004-1 0
EXH | B |T | 2

State: New Hampshire Fih'ng Company: L:'benfy msurance Corporan'on

TOl/Sub-TO!: 17.0 ther Liab."fr'ty¢Occ/Ctaims Made/17.0020 Commercr'a! Umbrefla and Excess

Product Name: Commercial Umbre!!a

Project Name/Number: Suhm.iss."on of New Commercia! Umbrel!a Product/CM'UMF-CW-OO¢¢-T 0

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EXH|B|T | 3

State: New Hampshire Fiiing Company: L."berty In.s'urance Corporatr'on
TO!/Sub-TOI: 17.0 Other L."abif."ty-Occ/C.'aims Made/17.0020 Commercr'a.' Umbre.'fa and Excess
Product Name: Cornmercr'al Umbref.'a

Project Name/Number: Submission of New Commercial Umbrel!a Product/CMWUMF-CW-OO¢¢-?O

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EXH]B |T | 4

State: New Hampshire Filing Company: Liber!y lnsurance Corporation

TOI'/Sub-TOI: 17.0 Other Lr'ab.ifr'fy-Occ/Claims Made/17.0020 Commercr'al Umbre.'fa and Excess

Product Name: Commercr'al Umbrefla

Project Name/Number: Submfssion of New Commerc."af Umbref.'a Pror::'ucaf/Cl'l/.‘j UMF-CW-004-10

Products and Professiona| Services LCU 21 31 11 10 LCU2131 7117717@77_797(7§77\°
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Exc|usion and ProductS-Comp|eted
Operations Limitation

Spas or Personal Enhancernent LCU 21 33 11 10 LCU77217777§§7777771717771707_7[;7)7<7;|7f
Facilities - Professiona| Liabi|ity

Exc|usion

Speci'r“rc Diseases Exc:|usion LCU 21 34 11 10 |_{3021734 11l _1__0__.[;_§_|1

Designated Operations Exclusion LCU 21 35 11 10

 

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SERFF Trackr'ng #: LWCM-126671549 State Tracking #: Company Trackr'ng #: CM-UMF-CW-004-T 0
EXH |B|T | 5

Sfate: New Hampshire Fr'Ir‘ng Campany: Lr'bar!y lnsurance Corporation

TO!/Sub-TOI: 17.0 Other Liabffr'ry-Occ/Cfar‘ms Made/17.0020 Ccmmarciaf Umbreh'a and Excess

Product Name: Commercr'al Umbreh'a

Project Name/Number: Submiss."on of New Cornmerciaf Umbreh'a Product/CM-UMF-CW-004-10

Designated Residentia| Construction LCU 21 51 11 10 |_CUQ1511110pdf
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For Schedu|ed Residentia|

Location(S), Projects(s) and

Deve|opments(s)

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Under|ying |nsurance With Sub|imit LCU 21 53 11 10 LCU21531110pdf
Exc|usion

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Engineers, Architects or Surveyors LCU 21 5511 10 |_Cu21 55 11 1707_Qq7f
Professiona| Liability Exc|usion

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SERFF Trackr`ng #: LWCM-126671549 State Track:'ng #: Company Trar:king #: CM-UMF-CW-004-10
EXH l B |T | 6

State: New Hampshi'ra F.ih‘ng Cumpany: Liberty lnsuranca Corporat.ion

TOl/Sub-TO.l: 17.0 Other Liabi!r'ty-Occ/Claims Mada/17.0020 Commercr'al Umbreh'a and Excess

Product Name: Commercial Umbrefla

Project Name/Number: Submr‘ssion of New Commercial Umbrel!a Product/CM-UMF-CW-004-10

Ath|etic or Sports Participants and LCU 21 66 11 10 LCU21681110ple
OfHCia|s Exc|usion for Schedu|ed
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Professlona| Liabi|ity Exc|usion LCU 21 70 11 10 |7_7(31_717271 70 _1 _1_ 10_,[_3_»_§1_1
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(lnc|udlng Watercraft Exception)

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|njury

Punitive or Exemplary Damages LCU 24 05 11 10 L___Qg_i__7251779§_71_]7_71_077_7[;_>7§71771
Lirnitation

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SERFF Tracking #: LWCM-126671549 State Track:`ng #: Company Tracking #: CM-UMF-CW-004-10
EXH |B|T | 7

State: New Hampsh."re Fr'ling Company: L."bedy lnsurance Corpuration

TOI/Sub-TO!: 17.0 Othar Liabr'lity-Occ/Cfaims Made/T?.OOZO Commarcial Umbre!la and Excess

Product Name: Commerc."ai Umbrei'!a

Project Name/Number: Submission of New Commerc."a)' Umbrella Product/CM-UMF-CW-OO¢MO

Fungi or Bacteria Exc|uslon With LCU 24 10 11 10 |_CU2410 _1___1_____1_0._pdf
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Bacterium

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EXH|B|T l 8

Sfate: New Hampshire Fiiing Company: Liberty lnsurance Corporation

TOl'/Sub-TOI: 17. 0 Othar l_."ability-Occ/Clal`ms Made/17.0020 Commercia.' Umbrefla and Excess

Product Name: Commercial Umbrel!a

Project Name/Number: Subrnissi'on of New Commercial Umt)ralla Product/CM¢UMF-CW-OO¢t-T 0

Contractor or Subcontractor Re|ease LCU 26 03 11 10 1200 26707173777177177717707_[;<;17{
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Cost or E><pense

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lnsured Contract - Cauaation LCU 29 04 11 10 LCUZQQA, 1717717(7}7.7_;7;7§71_{
Provislon

Occurrenca RedeHned for Specified LCU 29 05 11 10 LCUZQOSM 17[7}77,797@71
Products

Persona| and Advertising |njury LCU 29 06 11 10 LQU77279777Q(7577771717 111qu
Redefined |njury to the Fea|ings or

Reputation

F’DF Pr'pe!irle for SERFF Trar:kl`ng Nurrlber LWCM-126671549 Ger?erafed 02/25/2016 01.'37 PM

Case 1:15-cv-00234-.]L Document 27-13 Filed 05/20/16 Page 9 of 10

SERFF Tracking #: LWCM-125671549 State Tracking #.'

State: Ne w Hampsh:'re
TOI/Sub- TOI:

Product Name: Commerciaf Umbrelfa

F:'Hng Company:
17.0 Other Liabi!ity-Occ/C!aims Made/17.0020 Commarciai Umbre»'!a and Excess

Company Tracking #: CM-UMF-CW-OO4-1O

Lr'berty !nsurance Corporatr‘un

Project Name/Number: Submr`ssion of Naw Commerc:ia»' Umbrelfa Product/CM-UMF-CW-GO4-10

Other |nsurance Redef"lned LCU 29 08 11 10

Products - Comp¥eted Operations LCU 29 09 11 10

Hazard Redeflned

Under[ying Coverage Warranty For LCU 60 01 11 10
Cedifled Acts Of Terrorism

Broad Form Named |nsured LCU 99 01 11 10

Notice of Occurrence LCU 99 02 11 10

Composite Rate LCU 99 03 11 10

Other |nsurance - Additional |nsured LCU 99 04 11 10

Dec|arations Extension - Named LCU 99 05 11 10

|nsured

New Hampshire Excess Uninsured LCU 31 04 11 10
N|Otorists Coverage

New Hampsh-ire Excess Uninsured UU NH 02 11 10
I\/|otorists Coverage Se|ection or
Rajectic)n Form

New Hampshira Changes - Cross LCU 32 42 11 10

C|aims Exclusion

NaW Hampshire Changes - Cross LCU 32 43 11 10
C|aims For Named |nsureds

Exc|usion

Ur)lhsuredM/ndenhsu/ad/Mofonlst LCU 04 03 11 10
L!m/?atrbn for .S`c/zea'u/ed /nafwdua/s
Per:s‘ona/ L/abr?/'{V Caverage LCU 04 10 11 10
L/m?at:'on
Cmss C/.-:-vms Exc/us/bn L CU 21 04 1 1 10
Cro.s‘.s‘ C/a:?ns for Namea' msu/ads !_ CU 21 09 1 1 10
Exc/u.s'/bn

Cn?fca/Auto Pan‘s Exc/u.s'fon L CU 21 10 1 1 10

.l_/i;ruor/./ab/Zf?j/Exc/usrbn LCU 21 17 11 10

Sub.svdence EXG/usion L CU 21 43 1 1 10

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LCU 31 0411 10 - I\|ew Hamp§hire Excess Uninsured_
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UU NH 02 11 10 NH Selection-Rejection Form-Revised 11-12-

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LCU 04 03 11 10.90'1’

LCU 04 10 11 10.Qdf

LCU 2104 11 10.,Qdf

LCU21 09 11 10.gdf

LCU 21 1011 TO.Qdf
LCU 21 17 11 10.Qdf

LCU 2143 11 10.Qdf

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SERFF Tracking #: LWCM-126671549 Stare Tracking #: Company Tracking #: CM-UMF-CW-004-10
State: New Hampshr're F:'!r`ng Company: Lr'berty insurance Corporation
TO!/Sub~TO|': 17.0 Othar Liabif."ty-Occ/Claims Made/17.0020 Commerc."ai Umbrel!a and Excess

Product Name: Commercr'al Umbren'.'a

Project Name/Number: Submission of Naw Commarc:'a/ Urnbrel!a Product/CM-UMF~CW~UMJ 0

 

S/hg/e Aggregate L/m/'f LCU 25 11 11 10 LCU 25 10 11 10 [1).90'{

Mab/?e Equ»jomen! /?ede)?ned LCU 29 07 11 10 LCU 29 07 11 10.90')'

/Vew HampS/N?E EXB€SS UU/V/'/ 02 17 10 UU NH 02 11 10 New Hampshire Salection-Rajection Form¢
Unrhsurea' Moz‘orisz's Coverage Rev,rsed 10_14_90'{

Se/ec!/bn or Re/lecz‘rbn Form

 

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Un/hsmed Motanls'z‘s 00 verage FOrm_ goff

Se/ect'/‘on or Rey'ecz‘/bn Form

Supporting Document (ex. Supporting Document Name Attachment Name)
Attachments
Fi""g Mem°ra"dum _Q_W__Eq_tm$__l_n_Y.§n.tQEy,,-,p§f

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